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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

A.J. OLIVAS, individually and on behalf of
those similarly situated,

        Plaintiff,

v.                                                     Civil Action No. 2:17-cv-00022-JB-CG

C & S OILFIELD SERVICES, LLC,
DEWEY COFFMAN, and BRETT
COFFMAN, individually,

        Defendants.


                             JOINT STIPULATION TO DISMISS

       A.J. Olivas, individually and on behalf of those similarly situated (“Plaintiffs”), and

Defendant Alvarado Concepts (“Defendant”), by and through their respective undersigned

attorneys, file their Stipulation to Dismiss and state as follows:

       1. Plaintiffs filed the instant lawsuit against Defendants alleging that they are entitled to

overtime compensation from Defendants pursuant to the Fair Labor Standards Act, 29 U.S.C. §

201, et seq., and the New Mexico Minimum Wage Act, N.M. Stat. Ann. §§ 50-4-19, et seq.

       2.      The Parties have reached a settlement agreement related to the allegations set

forth by Plaintiffs in the instant lawsuit, as more specifically detailed in a settlement agreement

and release.

       3.      As a condition of settlement, which the Court previously approved (Doc. 58),

Plaintiffs have agreed to voluntarily dismiss the instant lawsuit and any and all claims against

Defendants with prejudice.




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       6.      Should Defendants fail to satisfy their payment obligations, Plaintiffs shall have

the right to reopen the instant lawsuit and seek relief for the unsatisfied amount of Defendants’

payment obligations.

       7.      Therefore, the Parties respectfully request that this Honorable Court enter an order

that dismisses all of Plaintiffs’ claims against Defendants with prejudice, and with each Party to

bear their own costs and fees, except as otherwise stated in the settlement agreement.

       WHEREFORE, the parties respectfully request that this Honorable Court dismiss the

instant lawsuit “with prejudice,” and any other relief that this Court deems just and appropriate.

Respectfully submitted,

/s/ Travis Gasper                                 KEMP SMITH LLP
J. DEREK BRAZIEL                                  P.O. Box 2800
Co-Attorney in Charge                             El Paso, Texas 79999-2800
Texas Bar No. 00793380                            915.533.4424
jdbraziel@l-b-law.com                             915.546.5360 (FAX)
TRAVIS GASPER
Texas Bar No. 24096881                            By: /s/ Clara B. Burns
gasper@l-b-law.com                                CLARA B. BURNS
Lee & Braziel, L.L.P.                             cburns@kempsmith.com
1910 Pacific Avenue, Suite 12000
Dallas, Texas 75201                               ATTORNEY FOR DEFENDANTS
(214) 749-1400 phone
(214) 749-1010 fax
www.overtimelawyer.com

JACK SIEGEL
Co-Attorney in Charge
Texas Bar No. 24070621
jack@siegellawgroup.biz
Siegel Law Group, PLLC
2820 McKinnon, Suite 5009
Dallas, Texas 75201
(214) 706-0834 phone
(469) 339-0204 fax
www.siegellawgroup.biz

ATTORNEYS FOR PLAINTIFFS




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                                CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed this document with the Clerk of the Court, using

the electronic filing system of the Court, on the date shown through the ECF system, and service

was made to all counsel of record using the ECF system.

                                                     /s/ Travis Gasper
                                                     TRAVIS GASPER




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